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MEMO ENDORSED
                                                                                          USDC SDNY
                                                      REPLY TO MONTCLAIR OFFICE           DOCUMENT
                                                                                          ELECTRONICALLY FILED
                                                                         January 11, 2021 DOC #:
                                                                                          DATE FILED: 1/11/2021
        Via ecf
        Honorable Valerie E. Caproni, U.S.D.J.
        Southern District of New York
        40 Foley Square
        New York, NY 10007

                                    Re:      United States v. Wilbright, et al., 20 Cr. 0667(VEC)

        Dear Judge Caproni:

               I represent Jamel Murray, a defendant in this case. I write, respectfully, to request that the
        Court modify his release conditions by adding New Jersey to Mr. Murray’s approved travel list. My
        main office is in New Jersey and I would like to have the option of meeting with him there.

                 Thank you for your attention to this request.

Application GRANTED. Mr. Murray may travel to                            Respectfully yours,
New Jersey solely for attorney meetings. Otherwise
his travel remains restricted to the Southern District of                /s/ Jean D. Barrett
New York and the Eastern District of New York.                           Jean D. Barrett

SO ORDERED.



                                          1/11/2021
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE

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